117 F.3d 1423
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Nico REDDING, Appellant,v.Frank WOOD, sued as Frank Woods;  Dennis Benson, Warden;Dan Ferrise, Director of Prison Industry;  GeorgeCrist, Director/Asst.  Prison Industry;David Crist, Associate Warden,Appellees.
    No. 96-2104.
    United States Court of Appeals, Eighth Circuit.
    Submitted:  July 7, 1997Filed:  July 11, 1997.
    
      Appeal from the United States District Court for the District of Minnesota.
      Before BOWMAN, WOLLMAN, and LOKEN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Nico Redding, a Minnesota inmate, appeals the District Court's1 grant of summary judgment to defendants in his 42 U.S.C. § 1983 (1994) action.  Having reviewed the record and the parties' briefs, we conclude the judgment of the District Court was correct.  Accordingly, we affirm.  See 8th Cir.  R. 47B.
    
    
      2
      A true copy.
    
    
      
        1
         The Honorable David S. Doty, United States District Judge for the District of Minnesota, adopting the report and recommendation of the Honorable Jonathan G. Lebedoff, United States Magistrate Judge for the District of Minnesota
      
    
    